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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF VIRGINIA
                               ALEXANDRIA DIVISION

SAMI DEBIZET,

                                      Plaintiff,

                      v.                           Civil Action No. 1:19-cv-01194-LMB-TCB

81.COM, an Internet domain name, and               SPECIAL APPEARANCE ONLY
JOHN DOE,

                                   Defendants.

  CONSENT MOTION FOR EXTENSION OF TIME TO RESPOND TO COMPLAINT

       Pursuant to Federal Rule of Civil Procedure 6(b) and Local Civil Rule 7, Defendant

81.com hereby moves for a 30-day extension of time, through and including November 27, 2019,

to respond to Plaintiff’s Complaint. To the extent that any one or more of the claims is deemed

alleged against the current owner of the 81.com domain name as “John Doe,” then Defendant

John Doe joins in the motion for a 30-day extension of time to respond to the Complaint.

Plaintiff consents to the relief sought by this motion. In support of this motion, Defendants state

as follows.

       1.      Pursuant to the Court’s October 3, 2019 Order (Dkt. 7), Defendants are required

to respond to Plaintiff’s Complaint within twenty days from the date of publication of the

Court’s Order in The Washington Times.

       2.      The Court’s Order was published in The Washington Times on October 7, 2019.

Accordingly, Defendants are required to respond to Plaintiff’s complaint on or before

October 28, 2019.

       3.      The Complaint sets forth seven counts under federal, state, and common law,

including in rem claims against the domain name 81.com and claims against John Doe, with
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Plaintiff alleging that he is the rightful owner of the 81.com domain name under various theories.

It is not clear whether the claims against John Doe are alleged against the current owner of the

domain name 81.com or some other person or entity. The 81.com domain name and the current

owner of the 81.com domain name do not consent to in personam jurisdiction in this Court, but

respectfully request this extension solely pursuant to a special appearance.

        4.     Counsel for the current owner of the 81.com domain name and Plaintiff’s counsel

have been discussing potential resolution of the claims, including a request that the complaint be

withdrawn voluntarily. In connection with these discussions, counsel for the current owner of

the 81.com domain name has provided Plaintiff’s counsel with evidence that Plaintiff voluntarily

sold the 81.com domain name in July 2013 to a domain name broker. To allow for further

discussion towards resolution or withdrawal of the claims, and in an effort to avoid the burden to

the Court and expense of a motion to dismiss, the owner of 81.com and the 81.com domain name

seek a short period of additional time to respond to the Complaint.

        5.     Accordingly, Defendants respectfully request that the Court extend Defendants’

time to respond to the Complaint by 30 days, or to November 27, 2019, with all defenses

expressly reserved.

        6.     Defendants have not requested or received any other extensions of their deadline

to respond to Plaintiff’s Complaint. Defendants do not make this request for the purpose of

delay. To the contrary, the owner of the 81.com domain name learned of the Complaint on

October 14, 2019, the owner’s counsel contacted Plaintiff’s counsel to discuss the case on

October 22, 2019, and counsel have been diligently discussing resolution of the claims since

then.




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          7.   On October 24, 2019, after counsel for 81.com provided evidence regarding the

sale of 81.com in July 2013, Plaintiff’s counsel proposed a 30-day extension of the deadline for

Defendants’ time to respond to the Complaint, satisfying the consent requirements of Local Civil

Rule 7.



Dated: October 28, 2019                             Respectfully submitted,

                                                    By: s/ J. Kevin Fee
                                                        J. Kevin Fee (Virginia Bar No. 88376)
                                                        Morgan, Lewis & Bockius LLP
                                                        1111 Pennsylvania Avenue, NW
                                                        Washington, DC 20004
                                                        (202) 739-3000
                                                        (202) 739-3001 (Facsimile)
                                                        kevin.fee@morganlewis.com

                                                        Attorney for the domain name 81.com and
                                                        the Owner of the domain name 81.com




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                              CERTIFICATE OF SERVICE

       I hereby certify that I caused a copy of the foregoing document to be served on all

counsel of record through the Court’s CM/ECF system on October 28, 2019.

                                                 s/ J. Kevin Fee
                                                 J. Kevin Fee




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